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                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF ILLINOIS
                                 EASTERN DIVISION

DELORES MORRIS, as Special Administrator             )
of the Estate of TOMMY MORRIS,                       )
Deceased, et al.,                                    )
                                                     )
                               Plaintiffs,           )
v.                                                   )      NO.     07 C 3409
                                                     )
CITY OF CHICAGO, et al.,                             )
                                                     )
                               Defendants.           )      Judge Marovich

                       DEFENDANTS’ MOTIONS IN LIMINE

          Defendants, Daniel Conway, Jeffrey Edwards, Patrick Mulkerrin, Derrick Glowacki

and William Lepine, by their attorneys, Scott Jebson, Chief Assistant Corporation Counsel

Jonathan Clark Green, Senior Counsel, and Andrea Cook, Assistant Corporation Counsel, and

pursuant to the Federal Rules of Evidence, respectfully move this Court to enter orders

precluding Plaintiff, her counsel and her witnesses from adducing at trial testimony or evidence

relating to or making any references to the following:

1.       Exclude Any Testimony, Evidence, Argument Or Comments Regarding Recent
         Publicized Events Concerning Allegations Of Police Misconduct.

         Within the last few months, there have been several highly publicized and emotionally

charged reports of police misconduct. Defendants anticipate that plaintiff may attempt to

mention, discuss or refer to these or other recent events regarding alleged police misconduct.

Because mention or evidence of any publicized incidents involving the CPD would serve no

proper purpose, and would only serve to improperly inflame the emotions of the jury and greatly

prejudice defendant, it should be excluded. Clayton v. Bellatti, 70 Ill.App.2d 367, 374, 216



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N.E.2d 686, 690 (4th Dist. 1966); Duff v. Ewing, 60 Ill.App.2d 382, 387, 208 N.E.2d 320, 321

(3d Dist. 1965) (improper questions insinuating plaintiff was accident prone merited new trial);

Bednar v. Commonwealth Edison, 156 Ill.App.3d 568, 575, 509 N.E.2d 687, 691 (3rd Dist.

1987)(appealing to prejudice of jury against public utilities is improper). Accordingly, plaintiff

should be precluded from making any references to any publicized instances of alleged police

misconduct. Saunders v. City of Chicago, 320 F.Supp.2d 735, 740 (N.D.Ill. 2004)(granting

identical motion).

2.        Exclude Evidence Of Complaints And/Or Lawsuits Against The Officers.

         Defendants seek to bar Plaintiff from offering any testimony, evidence or argument

regarding the disciplinary records of any of the officers or other police department personnel

involved in this incident. Defendants’ motion should be granted because such disciplinary

records are irrelevant and highly prejudicial to the issue of Defendants’ conduct in this case.

         Any attempt to introduce testimony and evidence relating to instances of alleged

misconduct by Defendants and other non-defendant police officer witnesses who may be called

to testify at trial should be barred. This evidence would most likely be, but not necessarily

limited to, prior lawsuits and citizens’ complaints against Defendants and other police officer

witnesses. Defendants move to bar this evidence because it constitutes improper character

evidence or propensity evidence under Fed.R.Evid. 404. Moreover, such evidence is irrelevant,

hearsay, and any probative value it may have is substantially outweighed by the danger of unfair

prejudice, confusion of the issues, and misleading the jury. See Fed. R. Evid. 402 and 403.

         Any information or allegation that Defendants may have acted wrongfully in the past is

nothing more than so-called “bad acts” evidence or “propensity evidence.” Propensity evidence,



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however, is inadmissible under Fed.R.Evid. 404(b) to prove that a party acted on the occasion in

question consistent with his alleged bad character. See Huddleston v. U.S., 485 U.S. 681, 685

(1988); U.S. v. Shriver, 842 F.2d 968, 974 (7th Cir. 1988). In this case, Plaintiff’s only purpose

in introducing or suggesting such evidence would be to attempt to taint the jury into believing

that accusations of alleged misconduct had been brought against the officers, and therefore it is

likely that the officers acted in a similar manner under the circumstances presented here.

         Although Rule 404(b) permits the admission of evidence of other acts, if such evidence is

directed toward establishing a matter in issue other than a defendant’s propensity to commit the

act charged, Plaintiff will not be able to satisfy his burden under Rule 404(b) of explicitly

articulating which exception to the general rule applies. U.S. v. Zapata, 871 F.2d 616, 620-21

(7th Cir. 1989), Moreover, even if there were some probative value in admitting this evidence,

that probative value would be overwhelmingly outweighed by the danger of unfair prejudice.

Fed. R. Evid. 403; see also, Berkovich v. Hicks, 922 F.2d 1018, 1022 (2nd Cir.1991) (holding

that the admission of evidence of other complaints against officers was irrelevant and

overwhelmingly prejudicial to the defendant); Lataille v. Ponte, 754 F.2d 33, 34 (1st Cir. 1985)

(prejudicial error to admit past disciplinary record). Finally, these same arguments would also

apply if Plaintiff sought to introduce any evidence of other litigation and/or complaints against

any non-defendant police officer witnesses who might be called to testify in these proceedings.

3.       Bar Allegations Of A “Code Of Silence.”

         Defendants seek to bar Plaintiff from offering any testimony, evidence, or argument that

police officers in general lie, conspire, cover-up or otherwise maintain a “code of silence” to

protect their fellow officers. This Court should exclude such evidence because it is not relevant



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to the jury’s determination of the credibility of the police testimony in this case and would be

extremely prejudicial to Defendants.

       It is anticipated that Plaintiff will attempt to introduce at trial generalized testimony,

evidence, or argument of an alleged police “code of silence” maintained by the Chicago Police

Department and/or police in general to protect fellow officers accused of wrongdoing.

However, evidence is admissible at trial only if it makes the existence of any fact that is of

consequence to the determination of the action more probable or less probable than it would be

without the evidence. Fed. R. Evid. 401. Moreover, even when evidence is relevant, it should be

excluded if its prejudicial effect substantially outweighs its probative value. Fed R. Evid. 403.

       At trial, the only relevant inquiry is whether Defendants used excessive force on Plaintiff,

and whether Defendants failed to intervene in during the shooting involving the decedent. Given

this narrow inquiry, it is simply beyond dispute that general evidence of a police “code of

silence” or similar slander has no bearing whatsoever on the jury’s assessment of the

Defendants’ conduct in this case. Such generalized evidence has no specific relationship to the

officers, former officers, or other police department personnel testifying in this case, it is not

relevant to the jury’s determination of their credibility. See People v. Currie, 84 Ill. App. 3d

1056, 1061-62 (1st Dist. 1980) (excluding evidence that police officers had motive to lie on

stand to cover up police practice of using ruse to enter premises during drug raids). See also

Shaw v. City of New York, No. 95 Civ. 9325, 1997 WL 187352, at *7-8 (S.D.N.Y. Apr. 15, 1997)

(excluding evidence of blue “code of silence” by which New York City police officers protect

fellow officers and lie if necessary to do so); Heflin v. City of Chicago, No. 95 C 1990, 1996 WL

28238, at *4 (N.D. Ill. Jan. 22, 1996) (granting unopposed motion to exclude evidence that



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police officers generally protect or cover-up other officers’ misconduct). Moreover, as the court

warned in Shaw:

         If [evidence of a police “code of silence”] were held admissible here, it logically
         would be admissible in every suit, civil or criminal, in which a police officer was
         alleged to be lying to support the testimony of a fellow police officer. Indeed, it
         would be admissible in every civil and criminal case in which even a single police
         officer testified. The Court declines to establish such a precedent.

Id. This Court too should decline to open the floodgates to such evidence.

         Furthermore, even if general evidence of a police “code of silence” were somehow

relevant to the matters at issue or the credibility of testimony in this case, and it is not, this Court

should nonetheless exclude such evidence because its prejudicial effect substantially outweighs

its probative value. Indeed, given its lack of connection to the specific issues and persons in this

case, “its probative value is very, very slim, and its prejudicial [impact] is very, very high.”

Shaw, 1997 WL 187352, at *7. Accordingly, this Court should bar Plaintiff from presenting at

trial any testimony, evidence or argument that police officers in general lie, conspire, cover-up or

otherwise maintain a “code of silence” to protect their fellow officers.

4.       Any Testimony Or Argument Regarding Settlement Discussions Must Be Barred
         Pursuant To Rule 408.

         Pursuant to Rule 408, any testimony from plaintiff or any of his witnesses with regard to

any attempts made to settle this matter, including, but not limited to testimony that plaintiff

offered any settlement proposal, testimony that Defendant made any offer to dispose of this case,

or testimony alleging that Defendant did not accept Plaintiff’s attempt to settle this matter should

be barred. Fed.R.Evid. 408.




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5.        Bar Evidence Regarding Training Of Police Officers Or Training Policies And
          Procedures By The City Of Chicago.

          Defendants seek to bar Plaintiff from arguing or eliciting testimony as to how the City of

Chicago trains, disciplines, monitors or controls police officers. The City of Chicago is not a

party to the case except for purposes of indemnification. Furthermore, although Plaintiff did file

a claim under Monell, it has been bifurcated and should not be considered in the current

proceedings. To impose liability on a municipality under §1983, Plaintiff must comply with the

framework established by the Supreme Court in Monell v. New York City Dep't of Social

Services, in which the purported constitutional injury must be proximately caused by the

execution of an official government policy or custom. 436 U.S. 658, 694 (1978).          Accordingly,

such information is irrelevant to the issues in this case, is highly prejudicial, and is likely to

confuse the jury. Fed. R. Evid. 401 and 403. In Illinois, "[a] local public entity is not liable for

an injury resulting from an act or omission of its employee where the employee is not liable."

745 ILCS 10/2-109. Thus, if Defendants are not liable to Plaintiff in the instant case, neither

can the City be liable to Plaintiff. See Guidry v. Boyd, 2007 WL 2317174, *15 (N.D.Ill. 2007).

Moreover, as noted, any questions regarding training would relate the plaintiff’s Monell claim,

which has been bifurcated. Therefore, any reference, question or testimony regarding the

training that Defendant Officers received or how other police officers are trained should be

barred.

          Defendants anticipate that Plaintiff may attempt to elicit testimony regarding Defendant

Officers’ training in courtroom procedures. For example, during Officer Edward’s deposition,

he testified that he was trained to testify in court and that the training consisted of being

professional, telling the truth and “being clean.” This testimony is entirely irrelevant to whether


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excessive force was used in Tommy Morris’ shooting. Therefore, any reference to the Defendant

Officers’ training in courtroom procedures (and any other training the Defendant Officers

received) should be barred as being irrelevant to the issues in this case.

6.       Exclude Testimony Alleging The Violation Of Internal Police Department Directives
         By The Defendant’s Employees.

         Defendants seek an order barring Plaintiff, Plaintiff’s attorneys and witnesses from

introducing testimony, evidence, or argument regarding the General Orders of the Chicago

Police Department. Chicago Police Department General Orders contain written directives for

police activities both in specific situations and for general conduct. Any attempt to introduce

certain General Orders promulgated by the Chicago Police Department in an attempt to suggest

that Defendants violated the procedures of the Chicago Police Department in the course of their

contact with Plaintiff. Defendants respectfully request this Court bar all references to General

Orders of the Chicago Police Department because such evidence is irrelevant, would lead to

confusion of the jury and its probative value is substantially outweighed by the danger of unfair

prejudice and confusion of the issues. See Fed. R. Evid. 401, 402, 403.

         Introduction of evidence relating to General Orders on the federal claims would be

improper because “the violation of police regulations or even a state law is completely

immaterial as to the question of whether a violation of the federal constitution has been

established.” Thompson v. City of Chicago, 472 F.3d 444, 454, (7th Cir. 2006). Moreover, “it

may be that [the Defendant’s] possible violation of the CPD’s General Orders is of interest to his

superiors when they are making discipline, promotion or salary decision, but that information

was immaterial in the proceedings before the district court and was properly excluded.” Id. at




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455. As the Seventh Circuit has spoken on this issue, general orders should not be admissible in

this case.

          The internal police guidelines are also irrelevant to Plaintiff’s state law claims. Under

Illinois law, a violation of self-imposed rules or internal guidelines, such as police department

regulations and general orders, do not normally establish or impose a legal duty. Morton v. City

of Chicago, 286 Ill.App.3d 444, 454 (1st Dist. 1997); Blakenship v. Peoria Park District, 269

Ill.App.3d 416, 422-23 (3rd Dist. 1995).

          Accordingly, Plaintiff should not be permitted to inject the possibility of a rules violation

into these proceedings. Because the General Orders of the Chicago Police Department are not

indicative of any legal duty, whatever probative value they may have is greatly outweighed by

the potential for prejudice to Defendants caused by the jury placing undue weight on their value.

Accordingly, any reference to the General Orders of the Chicago Police Department should be

barred.

7.        Bar Prior Arrests of the Defendant Officers.

          All testimony regarding the Defendant Officers’ prior arrests should be barred.

Defendants anticipate that Plaintiffs may attempt to elicit testimony regarding whether the

Defendant Officers have prior arrests. In his deposition, Officer Edwards admitted that during

college he was arrested for driving under the influence. Driving under the influence of alcohol

does not qualify as a felony or a misdemeanor involving dishonesty; therefore it does not qualify

as valid impeachment. The court should bar plaintiff from referring to it. This evidence is

irrelevant and any probative value it may have is substantially outweighed by the danger of




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unfair prejudice, confusion of the issues, and misleading the jury. See Fed. R. Evid. 401, 402

and 403.

8.       Allegations Of Racial Profiling Or Any Other Form Of Race-Based Discrimination.

         Defendants anticipate that plaintiff, or her lawyers, through testimony and/or argument,

may attempt to attribute the shooting of Tommy Morris racial animus. Argument or evidence

concerning race is irrelevant, speculative and unduly prejudicial. There is no evidence that the

shooting involving Plaintiff had any racial implications. Generic references to race, without a

more specific link to the facts of the case, are irrelevant and sufficiently prejudicial to amount to

reversible error. Jackson v. C.T.A., 133 Ill.App.2d 529, 533-4, 273 N.E.2d 748, 751 (1st Dist.

1971).

9.       All Non-Party Witnesses Should Be Excluded From The Courtroom During Trial
         Testimony.

         Defendants move this court to exclude all witnesses from the courtroom during the

opening statements and testimony of any and all other witnesses.


10.      Defendant’s Alleged Failure To Call Witnesses Or Produce Records.

         The court should bar any mention, inference or argument that the defendant failed to

bring any witnesses or documents on its behalf. This is a civil case, and as such, plaintiff bears

the burden of proving his case. The defendants are under no obligation to put on a defense or

call witnesses in order to support a verdict in its favor.

11.      Plaintiff Should Be Barred From Asking The Jury To “Send A Message” Or
         Making A Similar Argument.

         Plaintiff should be prohibited from making any argument that the Jury should “send a

message” to the defendants or that the jury should somehow punish the City of Chicago or the


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Defendant Officers. As a matter of law, the plaintiff can not recover punitive damages from the

City as a result of this occurrence. See 745 ILCS 10/2-102; City of Newport v. Fact Concerts,

453 U.S. 247, 271 (1981). Sending a message, or punishment, cannot form the basis for any

damages other than punitive damages. Moreover, plaintiff is not seeking punitive damages

against the Defendant Officers. Accordingly, plaintiff should not be permitted to imply to the

jury that punishment can serve as a legitimate basis for an award against the defendants. Any

such implication would be unfairly prejudicial to the Defendants. (See Fed. R. Evid. 403 (West

2010)).

12.       Defendants Request That Once A Witness Is Called To Testify, No Attorney Shall
          Confer With That Witness About His Or Her Trial Testimony Until The
          Termination Of The Testimony.

13.       Bar Any Testimony, Evidence, Argument, or Innuendo That Any Non-defendant
          Police Officers Engaged in Misconduct.

          Defendants move for an order in limine barring any testimony, evidence argument, or

innuendo from Plaintiff, Plaintiff’s counsel, or any witness, that any non-Defendant police

officers, non-Defendant Chicago Police Department personnel in this matter, or any other City of

Chicago employee engaged in any misconduct or caused any injury to Plaintiff in any manner

should be barred. Defendants cannot be held liable for the actions of another person. Martin v.

Tyson, 845 F.2d 1451, 1455 (7th Cir. 1988); Eades v. Thompson, 823 F.2d 1055, 1063 (7th Cir.

1987); Walker v. Rowe, 791 F.2d 507, 508 (7th Cir. 1986); O’Neil v. Krzeminski, 839 F.2d 9, 11

(2nd Cir. 1988); 745 ILCS 10/2-204.

          To allow any testimony or argument with regard to an alleged injury caused by another

City of Chicago Police Officer or other City of Chicago employee invites the jury to find against

Defendants if they wanted to compensate Plaintiff for any such alleged injury and/or to punish


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Defendants for the alleged actions of another individual. Accordingly, Plaintiff, Plaintiff’s

attorney, and witnesses must be barred from mentioning or referring to any alleged misconduct

by any non-Defendant police officer, Chicago Police Department personnel, or any other City of

Chicago employee.

14.    Bar Any Testimony or Evidence Regarding Indemnification by the City of Chicago.

       Any comment on indemnification by the City of Chicago should be precluded. Whether

or not the City of Chicago indemnifies Defendants is completely irrelevant to the issue of

whether Defendants are liable for any acts they may have performed that proximately caused an

the decedent’s death. It is undisputed that the City has agreed to indemnify the officers for any

compensatory damages assessed in this case. Thus, the only reason to mention the City is to

signal the jury that “deep pockets” are available to pay any judgment. Such a signal runs afoul of

federal and Illinois law that evidence of indemnification against liability is inadmissible as

irrelevant and highly prejudicial to the issue of liability. Fed.R.Evid. 411; Walker v. Saenz, 1992

WL 317188, *3 (N.D.Ill. Oct. 27, 1992); Larez v. Holcomb, 16 F.3d 1513, 1518 (9th Cir. 1994)

(holding that instructions to jury on indemnification in § 1983 action required new trial); Green

v. Baron, 879 F.2d 305, 310 (8th Cir. 1989) (stating that instructions concerning indemnification

are extremely prejudicial); Griffin v. Hillke, 804 F.2d 1052, 1057 (8th Cir. 1986) (declaring

indemnification instructions to constitute reversible error).

       Knowledge that the City of Chicago will indemnify Defendants for possible damages

might encourage jurors to find for Plaintiff—regardless of the facts presented at trial. Such

knowledge can also lead jurors to inflate an award out of sympathy or other irrelevant factors.




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15.    Limit Publication Or Display Of Autopsy Photos To The Jury.

       Certain autopsy photos show graphic displays of the open wounds and incisions made by

the medical examiner which are irrelevant, highly prejudicial, and serve only to arouse the

passions of the jury. The Illinois Supreme Court has held that autopsy photographs should be

excluded unless the cause of death is at issue and the photographs are necessary to supplement

the medical examiner’s testimony. People v. Fierer, 151 Ill.App.3d 649, 657, 503 N.E.2d 594,

599, 104 Ill.Dec. 879, 884 (1987). Autopsy photographs may be admitted only for the limited

purpose of proving:

             the nature and extent of the injuries and the force used to inflict them;
             the position, condition and location of the body; the manner and cause
             of death; to corroborate a defendant’s confession and to aid in
             understanding the testimony of pathologist or other witness.

People v. Anderson, 237 Ill.App.3d 621, 631, 604 N.E.2d 546, 552-53, 178 Ill.Dec. 290, 296-97

(1992)(citing People v. Henderson, 142 Ill.2d 258, 320, 568 N.E.2d 1234, 1263-64 (1990)).

Defendants request plaintiff show Defendants what autopsy photos, if any, prior to showing them

to a witness or to the jury so that Defendants can move this court to exclude certain photos the

Defendants deem improper.


16.    Any Comment On The Fact That The Defendants Have Three Attorneys
       Representing Them In This Litigation.

17.    Bar Evidence Or Argument That The Defendants, Or Their Attorneys Or Agents
       Ever Delayed The Trial Of This Cause, Or That The Plaintiff Has Waited A Long
       Time For Her Day In Court.




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18.     Any Implication Or Testimony That Chicago Police Department Personnel Are
        Being Paid By The City To Appear In Court And Testify.

        Plaintiff has listed Chicago Police Department personnel as witnesses her Rule 26(a)

disclosures and in the draft pre-trial order. Thus, plaintiff is relying on the City to produce

Chicago Police Department personnel in order to testify on behalf of plaintiff. It would be

disingenuous for plaintiff to elicit testimony that these or other police personnel are being paid

for their time spent in court.

19.     Bar Testimony Or Questioning Regarding The Fraternal Order Of Police
        Disclaimer Given In Official Reports Concerning Police Internal Investigations Of
        Alleged Misconduct.

        Lodge No. 7 of the Fraternal Order of Police, the bargaining unit for Chicago police

officers, instructs its members to provide a disclaimer before completing reports or statements

related to internal police department investigations. This disclaimer essentially states that the

officer is not providing the statement voluntarily, but based on the direct order of a superior

officer. Such a disclaimer allows police officers to protect their Fifth Amendment right against

self-incrimination while allowing the Chicago Police Department to conduct internal

investigations of officers involved in certain incidents. Said statements are coerced from the

officers from their superiors in an effort to progress the investigations. The law is clearly

established that the Fourteenth Amendment protection against coerced statements prohibits their

use in subsequent proceedings, when those statements were obtained under the threat of losing

their job. Hence, those statements cannot be used in the instant case. See Garrity v. State of New

Jersey, 385 U.S. 493, 87 S.Ct. 616 (1967).

        Allowing Plaintiff to question an officer on this issue would confuse the jury and would

create a substantial prejudice to the defendant officers. In addition, such questioning would


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undermine an important element of the Chicago Police Department’s ability to question officers,

without delay, in internal investigations. Permitting introduction or comment regarding the

disclaimer would require the City to introduce witnesses and documents from the police union to

explain why the disclaimer appears in the statements and reports. This would result in a wholly

collateral litigation of the legitimacy of the disclaimer that would both distract the jury and

unduly lengthen the trial with additional side issues and witnesses. To prevent prejudice to

defendants, this Court should permit the defendants to redact the disclaimer from any official

police reports and bar Plaintiff from referring to it prior to the introduction or use of any such

documents.

20.    Bar Any Mention That The Media Was At The Scene Of The Shooting, Or That
       Any Media Commented On, Or Was Involved In Covering This Incident Or That
       Any Witness Or Anyone Contacted The Media Regarding This Incident.

21.    Any Argument, Testimony, Evidence, Mention Or Suggestion Regarding Other
       Chicago Police Department Shootings Or Incidents, Including That Any Defendant
       Officer Has Been Involved In Other Police Shootings.

22.    Bar Testimony Or Opinion From The Medical Examiner That The Cause Of Death
       Regarding Tommy Morris Was A Homicide.

       The Cook County Medical Examiner’s office classifies all deaths at the hands of another

individual as a homicide. Obviously, the meaning of homicide to jurors will be that the shooting

was a crime, or imply that the shooting was wrongful. In reality, whenever some dies at the

hands of the other, the Medical Examiner is directed to list the cause of death as homicide. The

Medical Examiner, by it’s classification, does not make any determination whether there was any

wrongdoing that took place. The classification of the death by the medical examiner’s office as

homicide is irrelevant to any issue in this case, is misleading, and is unfairly prejudicial to

defendants.


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23.     Bar Plaintiff’s Witness Felicia Monroe from Testifying Regarding Any Comment
        That Any Officer Mentioned Catching and Killing Stanley Morris.

        Plaintiff’s witness, Felicia Monroe, testified at her deposition that an officer told her that

if they had caught they guy they were chasing (meaning Stanley) they would have killed him.

His alleged statement is clearly hearsay and should be barred. Moreover, it would be unfairly

prejudicial to defendants to allow such hearsay testimony, and such testimony would be

irrelevant to the issues in this case.

24.     Bar Any Mention That The Pursuit That Led To Tommy Morris’ Death Was
        Improper.

        Defendants anticipate that Plaintiff may attempt to argue that the pursuit leading up to

Tommy Morris’ death was improper. Any argument regarding whether the pursuit was improper

in any way should be barred because (1) there is no evidence that the pursuit was improper; (2)

even if there was evidence that the pursuit was improper (which there is not), the question of

whether the pursuit was improper is not relevant to the issues in this case; and (3) even if the

propriety of the pursuit was at issue, it is undisputed that none of the Defendant Officers were

involved in the pursuit of Tommy and Stanley Morris. Therefore, Plaintiffs should be barred

from arguing that the pursuit that preceded the shooting was improper.

25.     Bar any testimony regarding police officers finding a gun under the passenger seat
        of the Morris’ car.

        During Reshawn Jackson’s deposition, she testified that her sister told her that the

Police found a gun under the passenger side of the Morris’ car. This testimony should be barred

because it is hearsay. See Fed. R. Evid. 402 and 403.

26.     Bar mention about police beating up Kelvin Doyle

        Plaintiff may attempt to elicit testimony that Kelvin Doyle was beaten by police


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officers during the Tommy Morris’ shooting and Stanley Morris’ arrest. Kelvin Doyle was at a

barbeque that was taking place at the time of the shooting. There was testimony that certain

police officers (not the defendant officers) roughed up Kelvin Doyle believing that he was one of

the offenders in the robbery. This testimony has no bearing on the issues to be decided in this

case and any testimony regarding this allegation would be highly prejudicial. Additionally, the

alleged beating does not involve the Defendant Officers and therefore should be barred.

27.    Bar Evidence of Grief, Sorrow and Mental Suffering To Determine Damages

       Defendants anticipate decedent’s family will testify regarding their grief, sorrow and

mental suffering at decedent’s death as it relates to plaintiff’s Wrongful Death Claim. Such

testimony, however, is specifically excluded as allowed damages under the Wrongful Death Act,

and therefore should be barred.   Loss of society as it relates to plaintiff’s Wrongful Death Claim

is defined in Illinois Pattern Jury Instruction # 31.11 as “the mutual benefits that each family

member receives from the other’s continued existence, including love, affection, care, attention,

companionship, comfort, guidance and protection.” (Ill. Pattern Jury Instruction, Civil 2006 Ed).

Importantly, grief and sorrow are specifically excluded as recoverable damages. Additionally,

grief and sorrow are expressly excluded as recoverable damages in determining pecuniary loss in

Illinois Pattern Jury Instruction 31.07. (Ill. Pattern Jury Instruction, Civil 2006 Ed). Moreover,

mental anguish is not recoverable in a wrongful death claim. Smith v. Mercy Hospital, 203

Ill.App.3d 465,478 (1st Dist. 1990).

       Defendants note that the Illinois Legislature modified the Wrongful Death Act to permit

recovery of damages for grief, sorrow and mental suffering of the lineal next of kin. However,

this amendment applies to all causes of action accruing on and after May 31, 2007. 740 ILCS



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180/2. In this case, the cause of action accrued prior to May 31, 2007 and, therefore, plaintiff is

not entitled to grief, sorrow or mental suffering as an element of damages.

28.    Bar Any Evidence of Decedent’s Funeral, Funeral Program, and Funeral Expenses.

       Plaintiffs should be barred from introducing evidence of the decedent’s funeral, funeral

program and expenses because the decedent’s funeral expenses are not recoverable under the

Illinois Wrongful Death Act, 740 ILCS 180/1, and therefore are irrelevant. Graul v. Adrian, 32

Ill.2d 345 (1965); see also Saunders v. Schultz, 20 Ill.2d 301 (1960)(widow’s action individually

for funeral and medical expenses distinct from wrongful death action.)

29.    Bar Testimony Or Reference That The Independent Police Authority Or Other
       Department Within The City Investigated The Shooting For Potential Wrongdoing
       And Bar Reference To The “Roundtable” Procedure Of The Investigation.

       Plaintiff should be barred from offering evidence or testimony that the Office of

Professional Standards or any other department within the City investigated the Defendant

Officers for potential wrongdoing. The post-shooting and investigation and its findings is a post-

accident remedial measure and thus inadmissible. Illinois law is clear that post-incident remedial

measures are not admissible to prove culpability. Herzog v. Lexington Township, 167 Ill. 2d 288,

299 (1995). This rule of evidence has several legal rationales. First, it encourages the public

policy of encouraging improvements to increase public safety. Bulger v. CTA, 801 N.E. 2d 1127

(1st Dist. 2003). Second, subsequent remedial measures are not considered probative of prior

negligence (or in this case willful and wanton conduct) because later carefulness may simply be

an attempt to exercise the highest standard of care. Id. Third, evidence of post-accident

remedial measures is highly prejudicial because a jury may improperly view such measures as an




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admission of liability. Introduction of this material into evidence will irreparably and unfairly

prejudice defendants in this case. Id.

      Importantly, the standard that the police department uses to determine violations of the Police

Department’s internal general orders is not a legal standard but one that is used exclusively by

the Chicago Police Department. A finding of “sustained” cannot be equated with “negligence”

let alone “willful and wanton misconduct” and therefore, would only serve to confuse the jury

with an irrelevant and inapplicable standard. In Morton v. City of Chicago, 286 Ill. App. 3d 444,

454 (1st Dist. 1997), the court stated,

          “Indeed, the violation of self-imposed rules or internal guidelines, such as
          [Chicago Police Department’s] General Order 81-8, does not normally impose a
          legal duty, let alone constitute evidence of negligence, or beyond that, willful and
          wanton conduct.”

See also, Wade v. City of Chicago, 364 Ill.App.3d 773, 781 (1st Dist. 2006) (citing
Morton for the exact language quoted above and holding that evidence of violations of Chicago
Police Department’s internal general orders should have been excluded).

          Defendants have no objection to either party calling a witness who took a statement from

a party or witness to perfect impeachment. However, if that is the case, Defendants request that

the person who is called from the City who took the statement should not be referred to as

working for OPS or IPRA, but rather be referred to as someone working for City who took a

statement.

30.       Bar Testimony That The Chicago Police Department Did Not Properly Follow-Up
          Or Investigate The Shooting, Including, But Not Limited to, By Them Not Testing
          The Handgun Found Next to the Decedent For Fingerprints, Blood or DNA, and
          That Tommy Morris’ Fingerprints, DNA and Blood Were Not Found on the Gun
          Located next to him.

          The Illinois State Crime Lab, which is the entity responsible for conducting forensic tests

on evidence found by the Chicago Police Department, did not test the gun which was located


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next to Tommy Morris for evidence of latent fingerprints, blood or DNA. Defendants anticipate

that plaintiff will attempt to improperly imply or outright state by way of innuendo or by

questioning of certain witnesses that Tommy Morris’ fingerprints, DNA or blood was not found

on the gun or that that the City of Chicago, its police department or OPS improperly investigated

this shooting by not requesting the Illinois State Crime lab to test the gun for fingerprints, blood

or DNA. Any such implication that Tommy Morris’ fingerprints, DNA or blood was not found

on the gun would be a misstatement of the evidence since the gun was never tested for those

things. Moreover, it would be equally improper for Plaintiff to argue or introduce evidence that

the City of Chicago, its police department or OPS should have requested the Illinois State Crime

Lab to conduct such tests. Any such questioning or presentation of evidence is irrelevant to the

underlying claims in this case, supports no independent cause of action, and would only be

offered to prejudice the jury against the defendants. The City of Chicago is only named as a

defendant via a respondeat superior theory for the actions of the shooting officers, Defendants

Edwards and Conway. Neither Edwards nor Conway (or any other individual defendant officer)

had any involvement in how the investigation of the shooting was to take place. Moreover, any

alleged improper investigation of the shooting would, obviously, have occurred after the

shooting and could not have therefore caused the death of decedent. Further, pursuant to section

4-102 of the Illinois Tort Immunity Act, plaintiff is not entitled to any police investigation, let

alone one plaintiff thinks is proper. Section 4-102 states:

       “Neither a local public entity nor a public employee is liable for failure to establish a
       police department or otherwise provide police protection service or, if police protection
       service is provided, for failure to provide adequate police protection or service, failure to
       prevent the commission of crimes, failure to detect or solve crimes, and failure to identify
       or apprehend criminals. This immunity is not waived by a contract for private security
       service, but cannot be transferred to any non-public entity or employee.”


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       As such, plaintiff should be barred from implying via questioning or attempting to

introduce evidence that that:

       1.      The gun found next to Tommy Morris was never tested for fingerprints;

       2.      The gun found next to Tommy Morris should have been tested for fingerprints;

       3.      That Tommy Morris’ fingerprints were not found on the gun;

       4.      The gun found next to Tommy Morris was never tested for DNA;

       5.      The gun found next to Tommy Morris should have been tested for DNA;

       6.      That Tommy Morris’ DNA was not found on the gun;

       7.      The gun found next to Tommy Morris was never tested for blood;

       8.      The gun found next to Tommy Morris should have been tested for blood;

       9.      That Tommy Morris’ blood was not found on the gun; and

       10.     That the City of Chicago, its police department or OPS improperly conducted the

               investigation of the shooting.

31.    Bar Evidence That Any Defendant Officer Or Other Police Personnel Or Other
       Emergency Personnel Delayed Or Defeated The Rendering Of Medical Care To
       Decedent.

       Defendants anticipate that plaintiffs may suggest that police or other emergency

personnel prevented timely or effective treatment to decedent or delayed or defeated the

rendering of medical care to decedent. Plaintiffs have voluntarily dismissed her claim for failure

to provide Morris medical care. Moreover, the recording of the police radio dispatches plainly

indicates that medical personnel was immediately summoned by the officers involved in this

shooting and that fire and paramedic personnel arrived quickly from short distances away to

render aid to Tommy Morris.



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32.    Bar Steven Woodfork, Kelvin Doyle as Witnesses At Trial.

       Plaintiff has identified twelve witnesses who will testify that the decedent did not have a

gun at the time he was shot by the police. Two of those witnesses are Steven Woodfork and

Kelvin Doyle. Defendants have gone to great lengths to locate and depose all twelve alleged

eye witnesses plaintiff disclosed, including making two trips to Denver, Colorado to depose

seven of those witnesses who reside there.

       Steven Woodfork is one of the twelve eye witnesses defendants attempted to depose.

Defendants in fact served Mr. Woodfork with a deposition subpoena, but he never showed for

his deposition. Plaintiff’s attorney has informed defense counsel that he has been unable to

locate Mr. Woodfork as well. Defendants would be unfairly prejudiced if Mr. Woodfork is

suddenly located and presented as a witness to testify at trial given that Mr. Woodfork has failed

to show for his deposition. As such, he should be barred as a witness.

       Kelvin Doyle is another alleged witness to the shooting identified by plaintiff.

Defendants flew to Denver, Colorado to take Kelvin Doyle’s deposition. Kelvin Doyle showed

up at his deposition, but stated at his deposition that he had filed his own lawsuit related to this

very incident and he wanted to speak to his attorney first prior to sitting for his deposition.

Because of Mr. Doyle’s representations, his deposition did not proceed because he wanted to

confer with his attorney before being deposed. Plaintiff filed a motion in front of Magistrate

Judge Cole to prevent defendants from deposing Kelvin Doyle a second time. Essentially,

plaintiff argued that the defendants should have proceeded with the deposition of Kelvin Doyle

despite the fact that Mr. Doyle wanted to speak to an attorney before proceeding with the

deposition.



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       Judge Cole disagreed with plaintiff’s position and ruled that defense counsel acted

appropriately in not proceeding with the deposition and that the defendants could depose Kelvin

Doyle a second time. Defendants then flew out to Denver a second time to depose Kelvin Doyle,

but he never showed for his deposition. Defendants would be unfairly prejudiced if Mr. Doyle

is permitted to testify at trial given his two subsequent refusals to sit for his deposition. As such,

he should be barred as a witness.

33.    Bar Billy Walker and Helen Smith As Witnesses At Trial and bar any mention of
       the Search Warrant conducted at 157 N. Menard St, Chicago, IL, on April 20, 2005.

       On April 20, 2005, a team of thirteen (13) Chicago police officers, including defendants

Edwards and Mulkerrin, executed a search warrant at 157 N. Menard St., in Chicago, Illinois.

The search warrant was for a 9MM handgun, SK-5 rifle, ammunition, proof of residence and any

illegal contraband. The search of the residence revealed at Ruger 9mm semi-automatic handgun;

a .38 caliber semi-automatic Jennings handgun; certain ammunition and united states currency.

All items were placed in envelopes and were inventoried under Chicago Police Department

Inventory numbers.

       When defense counsel asked plaintiff’s counsel why he intended on calling Billy Walker

and Helen Smith at trial, he indicated that Billy Walker and Helen Smith resided at 157 N.

Menard where the above mention guns and ammunition were recovered and inventoried and that

they would testify that the gun that the defendant officers in this case claim that Tommy Morris

had and pointed at them was one the guns that was recovered during the search warrant on April

20, 2005 at 157 N. Menard. Apparently, it will be plaintiff’s theory that defendants Edwards

and/or Mulkerrin took the gun that was recovered during the April 20, 2005 search at 157 N.




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Menard and planted that gun on Tommy Morris in this case when in fact Tommy Morris never

had a gun.

       One of the glaring problems with plaintiff’s conspiracy theory is that the gun that was

found on Tommy Morris the night of this shooting is a completely different gun that was found

at 157 N. Menard. Specifically, the gun found on Tommy Morris was a 380 caliber Hungarian

Pistol, while the guns found in the search warrant at 157 N. Menard were a Ruger 9mm semi-

automatic handgun and a .38 caliber semi-automatic Jennings handgun, which are completely

different guns. Therefore, plaintiff’s conspiracy theory is more than a fishing expedition: It is

not even based on the evidence. Moreover, both of plaintiff’s witnesses Billy Walker and Helen

Smith were served with a deposition subpoena, but both did not show for their deposition.

Therefore, both witnesses should be barred because: (1) Neither witness would present relevant

testimony, but would rather only improperly and fraudulently imply that the defendant officers

planted the gun found at 157 N. Menard on Tommy Morris; (2) such testimony would be

unfairly prejudicial to defendants and would be a fraud on the court; and (3) both witnesses

failed to show for their depositions. Finally, plaintiff should be barred from mentioning the

search warrant that was conducted at 157 N. Menard Street as being irrelevant and prejudicial

evidence.

       WHEREFORE, Defendants respectfully request that plaintiff and her witnesses and

attorneys be ordered not to mention, refer to, adduce, interrogate concerning, voluntarily answer,

introduce any physical evidence concerning or attempt to convey to the jury at any time during

these proceedings in any manner, directly or indirectly, the subject matter as stated above, and




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that each counsel be instructed to warn and caution each and every witness under their control

appearing in their litigation to strictly comply with the ruling of this Court.




                                                       Respectfully submitted,

                                                       __/Scott Jebson/______________________
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